Bankrup!cyZO|Z 0l99l-20|2_ New Hope $o!iware, lne., ver. 4.6.8-782 - WQAY-VPNG”“°

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B6D (Offlcial Form 6D) (12/07)

Latitude Solutions, Inc.
Debtor (lf known)

SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

State the name, mailing address, including zip code and last four digits of any account number of all entities holding claims secured
by property of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
useful to the trustee and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests
such asjudgment liens, gamishments, statutory liens, mortgages, deeds of trust, and other security interests.

List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, state the child's initials and the name and
address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C
§l 12 and Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.

lf any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor,“
include the entity on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If` a joint petition is filed, state whether
husband, wife, both of them, or the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled
"Husband, Wife, Joint, or Community."

lf the claim is eontingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column
labeled "Unliquidated." It` the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than

ln re , Case No.

 

one of these three columns.)

Total the columns labeled “Amount of Claim Without Deducting Va|ue of Collateral“ and “Unsecured Portion, if Any” in the boxes
labeled “Total(s)” on the last sheet of the completed schedule. Report the total from the column labeled “Amount of Claim Without Dcducting
Va|ue of Collateral” also on the Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report the total from
the column labeled “Unsecured Portion, if Any“ on the Statistical Summary ofCertain Liabilities and Related Data.

|:| Check this box if debtor has no creditors holding secured claims to report on this Schedule D.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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AND ACC()UNT NUMBER 8 §§ VALUE OF PROPERTY § o § D`E§.;)ll‘]l(];:l`:l;"(; |F ANV
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(See Inslructtons Above.) U § g 8 § CO LLATERAL
31
ACCOUNT NO- 24917981 165 Lien: PMSl
A"y Financial Security: 2011 Ford F-150 truck
Po Box 9001948 VIN 1FTFW1ET3BFD1°239 4,659.94 0.00
Louisville, KY 40290
VALUE $ 23,500.00
ACCOUNT NO. 46942484 Lien: PMSl
. Security: 2011 Ford F-150 truck
Ford Motor Credlt
Po Box 650575 VIN IFTFWIEFZBFBSZ4°6 3,242.91 0.00
Dallas, TX 75265
VALUE $ 22,340.00
ACCOUNT NO. 46636330 Lien: PMSl
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PO Box 650575 18,573.88 0.00
Dallas, TX 75265
VALUE $ 24,675.00
2 continuation sheets attached (Total ots‘§?its°g§§) $ 26’476'73 $ 0`00
Total $ 3
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Summary of Certain
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Data.)

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B6D (Official Form 6D) (12/07) - Cont.

In re Latitude Solutions, Inc.

Debtor

, Case No.

 

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SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

(Continuation Sheet)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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MAlLlNG ADDRESS r- §§ NATuRE or LrEN, ANI) § < §§ CLAIM uNsEcuRal)
INCLUDING ZlP CODE, § 3_§ DESCR}PT|QN AND § E ;; WI'FHOUT PORTlON,
AND ACCOUNT NUMBER 3 § 8 vALuE or PRoPERTY § 3 5 DEDUCTING lF ANV
(See instructions Above.) g § g SUBJEC[' TO L[EN o 5 E VALUE OF
§ o § coLLATERAL
ACCOUNT NO. 46636447 Lien: PMSl
. Security: 201 l Ford F-150 truck
Ford Motor Credtt
P0 Box 650575 VIN'FTFW]EF$BFBSZU° 18,622.28 0.00
Dallas, 'I'X 75265
VALUE $ 23,475.00
ACCOUNT NO- 46942533 Lien: PMSl
. Security: 2011 Ford F-250 truck
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Po Box 650575 VIN IFT7WZBT8BEC63665 3,678.89 0.00
Dallas, TX 75265
VALUE $ 22,867.00
. Security: 2011 Ford F-250 truck ’ `
Ford Motor Credlt
PO Box 650575 VIN lFT7W2BT5BEC66426 34,93 8_52
Dallas, 'I`X 75265
VALUE $ 23,367.00
ACCOUNT NO.46557054 Lien: PMSl 6 523 50
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PO Box 650575 28,990.50
Dallas, TX 75265
VALUE $ 22,467.00
ACCOUNT NO.46557077 Lien: PMSI 6 386 41
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PO Box 650575 29,286.41
Dallas, TX 75265
VALUE $ 22,900.00
Sheet no. L of i continuation sheets attached to Subtmal (5) > $ 115,516.60 $
Schedule of Creditors Holding Secured Claims (Total($) ofthis pag§)
Total(s) $ $
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(Report also on (If applicable, report

Summary of Schedules) also on Statistical
Summary of Certain
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B6D (Official Form 6D) (12/07) - Cont.

 

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ln re Latitude Solutions, Inc. , Case No.
Debtor (lf known)
SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
(Continuation Sheet)
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MAlLlNG ADDRESS i- E § NATURE or Ln:N, AND § < w CLMM uNsF.cuREn
INCLumNG m coDE. § §§ Dt-:schPTloN AND § 2 § WlTHOUT PoRTloN,
AND ACCOUNT NUMBER g § 8 vALUE ()F pROPERTy g... 3 § DEDUCI`ING u: ANy
(See Instrucrion.s Above.) g § g SURJECF T() L[EN g 5 g VALUE OF
g U § COLLATERAL
=
ACCOUNT NO. lncurred: 2012; various dates
Lien: Security for operating loans 3 ,169,000.00
John Paul De]oria Security: First lien security interest in Debtor‘s
_ intellectual property
2934 Oestnck Lane Va|ue of intellectual property is _undelermined at 3,169,000.00
Austin, TX 78733-1405 \hisfim¢=
VALUE $ 0.00
ACCOUNT NO.
VALUE $
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VALUE $
ACCOUNT NO.
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Sheet no. _i of i continttation sheets attrached to Subtotal (S)> $ 3’169’000_00 $3,169,000'00
Schedulc of Credttors Ho|dlng Secured Claims (Total($) ofthis pa e
T°fa'( $ 3,310,993.33 $3,193,481.43
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Summary of Schedules) also on Statistical
Summary of Certain
Liabilities and Rclaled

